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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


--------------------------------------------------------- x
In re:                                                    : Chapter 11
                                                          :
                                              1
Lucky Brand Dungarees, LLC, et al.,                       : Case No. 20-11768 (CSS)
                                                          :
                                 Debtors.                 : (Jointly Administered)
                                                          :
--------------------------------------------------------- : Ref. Docket No. 416
                                                          x

                                              AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

ALISON MOODIE, being duly sworn, deposes and says:

1.       I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
         777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and
         am not a party to the above-captioned action

2.       On September 18, 2020, I caused to be served the “Notice of Application,” dated September
         18, 2020 [Docket No. 416] to which is attached the “Application of the Debtors for Entry of
         an Order (I) Authorizing Employment and Retention of KPMG LLP to Provide Tax
         Compliance and Consulting Services to the Debtors Effective as of July 29, 2020 and (II)
         Granting Related Relief,” dated September 18, 2020 [Docket No. 416-1],

by causing true and correct copies to be:

i.       enclosed in separate postage pre-paid enveloped and delivered via first class mail to
         those parties listed on the annexed Exhibit A,

ii.      delivered via electronic mail to those parties listed on the annexed Exhibit B.


1
      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Lucky Brand Dungarees, LLC (3823), LBD Parent Holdings, LLC (4563), Lucky Brand Dungarees Stores, LLC
      (7295), Lucky PR, LLC (9578), and LBD Intermediate Holdings, LLC (7702). The Debtors’ address is 540 S
      Santa Fe Avenue, Los Angeles, California 90013.




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  3. All envelopes utilized in the service of the foregoing contained the following legend:
     LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
     ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”


                                                                 /s/ Alison Moodie
                                                                 Alison Moodie
Sworn to before me this
18th day of September, 2020
/s/ Panagiota Manatakis
Notary Public, State of New York
No. 01MA6221096
Qualified in Queens County
Commission Expires April 26, 2022
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                    Exhibit A
                                                     Lucky Brand
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                                                    Service List
                                                                                  Page 4 of 8

Claim Name                               Address Information
CHATHAM COUNTY TAX COMMISSIONER          ATTN: THERESA C. HARRELSON P.O. BOX 8324 SAVANNAH GA 31412-8324
CHATHAM COUNTY TAX COMMISSIONER          (COUNSEL TO CHATHAM COUNTY TAX COMMISSIONER) ATTN: THERESA C HARRELSON PO BOX
                                         8324 SAVANNAH GA 31412-8324
INTERNAL REVENUE SERVICE                 CENTRALIZED INSOLVENCY OPERATION PO BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE                 CENTRALIZED INSOLVENCY OPERATION 2970 MARKET ST MAIL STOP 5 Q30 133
                                         PHILADELPHIA PA 19104-5016
JULIET SARKESSIAN                        U.S. TRUSTEE 211 EAST MEADE ST. PHILADELPHIA PA 19118
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP   (COUNSEL TO SAN MARCOS CISD) ATTN: DIANE WADE SANDERS PO BOX 17428 AUSTIN TX
                                         78760
MONZACK MERSKY BROWDER AND HOCHMAN,      (COUNSEL TO DANIA LIVE 1748 II, LLC) ATTN: RACHEL B. MERSKY 1201 N. ORANGE
P.A.                                     STREET, SUITE 400 WILMINGTON DE 19801
NOLD MUCHINSKY PLLC                      (COUNSEL TO BELLEVUE SQUARE, LLC, ET AL) ATTN: THOMAS W. STONE, ESQ 10500 NE
                                         8TH STREET BELLEVUE WA 98004




                                  Total Creditor count 8




Epiq Corporate Restructuring, LLC                                                                          Page 1 OF 1
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                    Exhibit B
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                                  Lucky Brand Dungarees, LLC
                                   Master Service List - Email
                  Creditor Name                                            Email


                                                   JOSEPH.HOPE@BROOKFIELDPROPERTIESRETAIL.COM;
BROOKFIELD                                         JULIE.BOWDEN@BROOKFIELDPROPERTIESRETAIL.COM
                                                   CHRISTINE_MONA@BUSANAGROUP.COM;
BUSANA APPAREL PTE LTD                             SGOYAL@BUSANAGROUP.COM
HIRDARAMANI INTERNATIONAL EXPORTS(PVT)LT           AROON@HIRDARAMANI.COM
INT, S.A.                                          SHELLY@INTTRADINGUSA.COM
ORIT TRADING LANKA (PVT) LTD                       MODITHA@ORITSL.COM; AJITH@ORITSL.COM
RED & BLUE INTERNATIONAL CO., LTD.                 JERRY.TING@AGI-LIMITED.COM
                                                   JOYKIM@UBASEINTERNATIONAL.COM;
UBASE INTERNATIONAL, INC.                          YONGKIM@UBASEINTERNATIONAL.COM
                                                   USTPREGION03.WL.ECF@USDOJ.GOV;
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WELLS FARGO BANK, NA AS ADMIN AGENT                ksimard@choate.com; Maggie.Townsend@wellsfargo.com
WELLS FARGO BANK, NA AS TERM AGENT                 wolfje@gtlaw.com

                                                   thomas.califano@dlapiper.com;
LANTERN CAPITAL PARTNERS                           shmuel.klahr@dlapiper.com ; tommy.felix@dlapiper.com
HILCO MERCHANT RESOURCES LLC                       hollysnow@paulhastings.com
CLOVER HOLDERS II, LLC                             collins@rlf.com
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WILMINGTON TRUST, NA AS ADMIN AGENT                david.wender@alston.com
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BANK OF HAWAII                                     Glenda.Albano@boh.com
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WELLS FARGO CAPITAL FINANCE                        Maggie.Townsend@wellsfargo.com
WELLS FARGO CASH MANAGEMENT                        julie.yamauchi@wellsfargo.com
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POTTER ANDERSON & CORROON LLP                      rmcneill@potteranderson.com
BROOKFIELD PROPERTIES RETAIL, INC. AS AGENT        bk@brookfieldpropertiesretail.com
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CHOATE, HALL & STEWART LLP                         com
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                                  Lucky Brand Dungarees, LLC
                                   Master Service List - Email
                  Creditor Name                                           Email
REED SMITH LLP                                     kgwynne@reedsmith.com;jangelo@reedsmith.com
LAW OFFICE OF SUSAN E. KAUFMAN, LLC                skaufman@skaufmanlaw.com

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SPECTOR & COX, PLLC                                hspector@spectorcox.com
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                                  Master Service List - Email
                 Creditor Name                                        Email
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